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CAUSE NO_c 0802 15
JUAN vlLLANUEVA, § IN THE DISTRICT coURT
Plaintii`f, §
§
§
vs. § Hn)ALGo CoUNTY, TEXAS
§
ALLSTATE TEXAS LLoYDs, § ` q)¢
Defendant. § \: 2 JUDICIAL DISTRICT

* ’ *TITI
TO THE HONORABLE JUDGEl OF SAID COURT:

COMES NOW Juan Villanueva (hereinaf`ter “Plaintifi”), and complains of Allstate Texas
Lloyds (hereinafter “Allstate”). In support of his claims and causes of action, Plaintifl` Would
respectfully show the Court as follows:

DI t t
1. Plaintifi` intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Procedure.

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2. This Court has jurisdiction to hear Plaintiff"s claims under Texas common law and
Texas statutoiy law. Inarguably, the amount in controversy exceeds the minimum jurisdictional
limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to
this suit occurred within the city of McAllen, in Hidalgo County, Texas.
PART!E §
3. Plaintiff is an individual whose residence is located in McAllen, Hidalgo County,

Texas.

 

PLAINTIFF JUAN VILLANUEVA'S ORlGlNAL PETlTlON Page l

 

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4. Allstate Texas Lloyds is a company engaged in the business of adjusting insurance
claims. This includes Plaintift"s insurance policy which is at issue in the present case. Allstate
may be served with Citation and a copy of this Petition, by serving it through its Registered
Agent, CT Coiporation System, 1999 Bryan St., Ste. 900, Dallas, Texas 752012 or Wherever it
may be found.

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5. This matter revolves largely around a first party insurance dispute regarding the
extent of damages and amount of loss suffered to the Plaintiff’s Property, Which is located at
2404 Heron Ave., McAlleu, Texas 78504, (the “Propeity”). In addition to seeking economic and
penalty based damages from Allstate, Plaintiff also seeks compensation from Allstate for
damages caused by improperly investigating the extensive losses associated With this case.

6. Plaintiff owns the Property.

7. Prior to the occurrence in question, Plaintiff purchased a residential insurance
policy from Allstate to cover the Property at issue in this case for a loss due to storm-related
events. Plaintiff’s Property suffered storm-related damage. Through his residential policy,
000929233237, Plaintiff was objectively insured for the subject loss by Defendant.

8. On or around March 29, 2012, the Property suffered incredible damage due to
storm related conditionsl

9. In the aftermath, Plaintiff relied on Allstate to help begin the rebuilding process.
By and through his residential policy, Plaintiff was objectively insured for the subject losses in

this matter.

 

PLAINTIFF JUAN VILLANUE,VA’S ORIGINAL PETITION Page 2

 

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10. Pursuant to his obligation as a policyholder, Plaintift` made complete payment of all
residential insurance premiums in a timely fashion. Moreover, his residential policy covered
Plaintiff during the time period in question.

ll. Despite Plaintiff’s efforts, Allstate continually failed and refused to pay Plaintiff
in accordance with its promises under the Policy.

12. Moreover, Allstate has failed to make any reasonable attempt to settle Plaintiff’s
claims in a fair manner, although its liability to the Plaintiff under the policy is without dispute.

13. In the months following, Plaintiff provided infonnation to Allstate, as well as
provided opportunities for Allstate to inspect the Propeity. However, Allstate failed to conduct a
fair investigation into the damage to the Property. Moreover, Allstate failed to properly inspect
the Property and its related damages, failed to properly request information, failed to properly
investigate the claim, failed to timely evaluate the claim, failed to timely estimate the claim, and
failed to timely and properly report and make recommendations in regard to Plaintiff’s claims.

14. Despite Allstate’s improprieties, Plaintiff continued to provide information
regarding the losses and the related claim to Allstate. Further, Plaintiff made inquiries regarding
the status of the losses, and payments Regardless, Allstate failed and refused to respond to the
inquiries, and failed to properly adjust the claim and the losses. As a result, to this date, Plaintiff
has not received proper payment for his claim, even though notification was provided.

15. Allstate has failed to explain the reasons for failing to offer adequate
compensation for the damage to the Property. Allstate has furthermore failed to offer Plaintiff
adequate compensation without any explanation why full payment was not being made. Allstate
did not communicate that any future Settlements or payments would be forthcoming to pay the

entire losses covered under the policy.

 

PLAINTIFF IUAN VILLANUEVA’S ORIGINAL PETITION Page 3

 

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16. Allstate has further failed to affirm or deny coverage within a reasonable time.
Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and
entire claim in writing from Allstate in a timely manner.

17. Allstate has, to date, refused to fully compensate Plaintiff under the tenns of the
policy for which Plaintiff paid, even though it was Allstate that failed to conduct a reasonable
investigation Ultimately, Allstate performed a result-oriented investigation of Plaintiff‘s claim
that resulted in an unfair, biased and inequitable evaluation of Plaintiff’s losses.

lS. Allstate has failed to meet its obligations under the Texas Insurance Code
regarding timely acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff’s claim,
and requesting all information reasonably necessary to investigate Plaintiff’s claims within the
time period mandated by statute

19. As a result of the above issues, Plaintiff did not receive the coverage for which he
had originally contracted with Allstate. Unfoitunately, Plaintiff has, therefore, been forced to file
this suit in order to recover damages arising from the above conduct, as well as overall from the
unfair refusal to pay insurance benefitsl

20. ln addition, Allstate has failed to place adequate and proper coverage for Plaintiff
causing Plaintiff to suffer further damages As indicated below, Piaintiff seeks relief under the
common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance
Code.

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21 . All conditions precedent to recovery by Plaintiff has been met or has occurred

 

PLAINTIFF JUAN VILLANUBVA’S ORIG]NAL PETIT[ON Page 4

 

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22. All acts by Allstate were undertaken and completed by its officers agents
servants, employees and/or representatives Sucir were either done with the full authorization or
ratification of Allstate and/or were completed in its normal and routine course and scope of
employment with Allstate.

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23. Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs

A.
NEGLIGENCE

24. Allstate had and owed a legal duty to Plaintiff to properly adjust the structural and
property damage and other insurance losses associated with the Property. Allstate breached this
duty in a number of ways, including but not limited to the following:

a. Allstate was to exercise due care in adjusting and paying policy proceeds
regarding Plaintiff’s Property loss;

b. Allstate had a duty to competently and completely handle and pay all
damages associated with Plaintiff’s Property; and/or

c. Allstate failed to properly complete all adjusting activities associated with
Plaintiff.

25. Allstate’s acts, omissions, and!or breaches did great damage to Plaintiff, and were

a proximate cause of Plaintiff’s damages

B.
BREACH OF CONTRACT

26. Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs

 

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27. According to the policy that Plaintiff purchased, Allstate had the absolute duty to
investigate Plaintiff’s damages, and to pay Plaintiff’s policy benefits for the claims made due to
the extensive storm-related damages

28. As a result of the storm-related event, Plaintiff suffered extreme external and
internal damages

29. Despite objective evidence of such darnages, Allstate has breached its contractual
obligations under the subject insurance policy by failing to pay Plaintiff benefits relating to the
cost to properly repair Plaintiff’s Property, as well as for related losses As a result of this
breach, Plaintiff has suffered actual and consequential damages

VIOLATIONS OF TEX§b DECEPTIVE TRADE
PRACTICES ACT AND TIE-IN~STATUTES
30. Plaintiff hereby incorporates by reference all facts and circumstances set forth
under the foregoing paragraphs
31. Allstate’s collective actions constitute violations of the DTPA, including but not
limited to, Sections l'i'.46(b) (12), (14), (20), (24), and Seetion l7.50(a) (4) of the Texas Business

& Commerce Code. Allstate collectively engaged in false, misleading, or deceptive acts or

practices that included, but were not limited to:

a. Representing that an agreement confers or involves rights, remedies, or
obligations which it does not have or involve, or which are prohibited by
law;

b. Misrepresenting the authority of a salesrnan, representative, or agent to

negotiate the final terms of a consumer transaction;

c. Failing to disclose information concerning goods or services which were
known at the time of the transaction, and the failure to disclose such
information was intended to induce the consumer into a transaction into

 

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which the consumer would not have entered had such information been
disclosed;
d. Using or employing an act or practice in violation of the Texas lnsurance
Code;
e. Unreasonably delaying the investigation, adjustment and resolution of

Plaintiff’s claim;

f. Failure to properly investigate Plaintiff’s clairn; and/or

g. Hiring and relying upon a biased engineer and/or adjuster to obtain a
favorable, result-oriented report to assist Allstate in low-balling and/or
denying Plaintiff’S damage olaim.

32. As described in this Original Petition, Allstate represented to Plaintiff that his
insurance policy and Allstate’s adjusting and investigative services had characteristics or benefits
that it actually did not have, which gives Plaintif`f the right to recover under Section 17.46 (b)(§)
of the DTPA.

33. As described in this Original Petition, Allstate represented to Plaintiff that its
insurance policy and Allstate’s adjusting and investigative services were of a particular standard,
quality, or grade when they were of another, which stands in violation of Section 17.46 (b)('l') of
the DTPA.

34. By representing that Allstate would pay the entire amount needed by Plaintiff to
repair the damages caused by the storm-related event and then not doing so, Allstate has violated
Sections 17.46 (b)($), (7) and (12) of the DTPA.

35. Allstate has breached an express Warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies This breach entitles

Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.

 

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36. Allstate’s actions, as described herein, are unconscionable in that it took
advantage of Plaintiff’s lack of knowledge, ability, and experience to a grossly unfair degree.
Allstate’s unconscionable conduct gives Plaintiff the right to relief under Section l'/.$O(a)(B) of
the DTPA.

37. Allstate’s conduct, acts omissions and failures, as described in this Original
Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of
the DTPA.

38. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,
misleading, or deceptive acts or practices made by Allstate to his detriment As a direct and
proximate result of Allstate’s collective acts and conduct, Plaintiff has been damaged in an
amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now
sues All of the above-described acts omissions and failures of Allstate are a producing cause of
Plaintiff’s damages that are described in this Original Petition.

39. Because Allstate’s collective actions and conduct were committed knowingly and
intentionally, Plaintiff is entitled to recover, in addition to all damages described herein, mental
anguish damages and additional penalty damages in an amount not to exceed three times such
actual darnages, for Allstate having knowingly committed its conduct. Additionally, Plaintiff is
ultimately entitled to recover damages in an amount not to exceed three times the amount of
mental anguish and actual damages due to Allstate having intentionally committed such conduct.

40. As a result of Allstate’s unconscionable, misleading, and deceptive actions and
conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to
protect and pursue these claims on his behalf Accordingly, Plaintiff also seeks to recover his

costs and reasonable and necessary attorneys’ fees as permitted under Section l7.50(d) of the

 

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Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may
show himself to be justly entitled at law and in equity.

D.
VIOLATIONS OF TEXAS INSURANCE CODE

41. Plaintiff hereby incorporates by reference all facts and circumstances set forth
within the foregoing paragraphs

42. Allstate’s actions constitute violations of the Texas Insurance Code, including but
not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv], and (viii) (codified as Section 541.060),
Article 21.21 Section ll(e) (codified as Section 541.061), and Article 21.55 Section 3(f)
(codified as Section 542.058). Specifically, Allstate engaged in certain unfair or deceptive acts
or practices that include, but are not limited to the following:

a. Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
settlement of a claim with respect to which the insurer’s liability has
become reasonably clear;

b. Failing to provide promptly to a policyholder a reasonable explanation of
the basis irl the policy, in relation to the facts or applicable law, for the

insurer’s denial of a claim or for the offer of a compromise settlement of a
clairn',

c. Refusing to pay a claim without conducting a reasonable investigation
with respect to the claim;

d. For'cing Plaintiff to file suit to recover amounts due under the policy by
refusing to pay all benefits due;

e. Misrepresenting an insurance policy by failing to disclose any matter
required by law to be disclosed, including a failure to make such
disclosure in accordance with another provision of this code; and/or

f. Failing to pay a valid claim after receiving all reasonably requested and
required items from the claimant.

 

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43. Plaintiff is the insured or beneficiary of a claim which was apparently valid as a
result of the unauthorized acts ofAllstate, and Plaintiff relied upon these unfair or deceptive acts
or practices by Allstate to his detriment. Accordingly, Allstate became the insurer of Plaintiff.

44. As a direct and proximate result of Allstate’s acts and conduct, Plaintiff has been
damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which he
now sues

45. Since a violation of the Texas Insurance Code is a direct violation of the DTPA,
and because Allstate’s actions and conduct were committed knowingly and intentionally, Plaintiff
is entitled to recover, in addition to all damages described herein, mental anguish damages and
additional damages in an amount not to exceed three times the amount of actual damages for
Allstate having knowingly committed such conduct. Additionally, Plaintiff is entitled to recover
damages in an amount not to exceed three times the amount of mental and actual damages for
Allstate having intentionally committed such conduct.

46. As a result of Allstate’s unfair and deceptive actions and conduct, Plaintiff has
been forced to retain the legal services of the undersigned attorneys to protect and pursue these
claims on his behalf. Accordingly, Plaintiff also seeks to recover his costs and reasonable and
necessary attorneys’ fees as permitted under Section 17 .50(d) of the Texas Business &
Commerce Code or Article 2].2] Section 16(b) (l) (codified as Section 541.]52) of the Texas
Insurance Code and any other such damages to which Plaintiff may show himself justly entitled

by law and in equity.

 

PLAINTIFF J UAN VILLANUEVA'S ORIGINAh PETlTION Page 10

 

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E.
BREAC‘H OF THE COMMON-LAW DUTY
OF GOOD FAITH AND FAIR DEALING
47. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs
48. By its acts, omissions failures and conduct, Allstate has breached its common law
duty of good faith and fair dealing by denying Plaintiff’s claims or inadequately adjusting and
making an offer on Plaintiff’s claims without any reasonable basis and by failing to conduct a
reasonable investigation to determine whether there was a reasonable basis for this denial
49. Allstate has also breached this duty by unreasonably delaying payment of
Plaintiff’s entire claims and by failing to settle Plaintiff’s claims as Allstate knew or should have
known that it was reasonably clear that Plaintiff’s storm-related claims were covered. These

acts, omissions failures and conduct by Allstate is a proximate cause of Plaintiff’s damages

F.
BREACH OF FIDUCIARY DUTY

50. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs

51. Allstate had a fiduciary relationship, or in the alternative, a relationship of trust
and confidence with Plaintiffl As a result, Allstate owed a duty of good faith and fair dealing to

Plaintiff Allstate breached that fiduciary in that:

a. The transaction was not fair and equitable to Plaintiff;

b. Allstate did not make reasonable use of the confidence that Plaintiff placed
upon it;

c. Allstate did not act in the utmost good faith and did not exercise the nrost

scrupulous honesty toward Plaintiff;

 

PLAINTIFF J UAN VILLANUEVA’S ORIGINAL PETITION Page ll

 

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d. Allstate did not place the interests of Plaintiff before its own, and Allstate
used the advantage of its position to gain a benefit for itself, at Plaintiff’s
expense;
e. Allstate placed itself in a position where its self-interest might conflict

with its obligations as a fiduciary; and/or

f. Allstate did not fully and fairly disclose all important information to
Plaintiff concerning the sale of the policy.

52. Allstate is liable for Plaintiff’s damages for breach of fiduciary duty, as such

damages were objectively caused by Allstate’s conduct.

G.
UNFAIR INSURANCE PRACTICES

53. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs

54. Plaintiff has satisfied all conditions precedent to bringing these causes of action.
By its acts omissions failures and conduct, Allstate has engaged in unfair and deceptive acts or
practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code,

55. Such violations include, without limitation, all the conduct described in this
Original Petition, plus Allstate’s failure to properly investigate Plaintiff‘s claim. Plaintiff also
includes Allstate’s unreasonable delays in the irrvestigation, adjustment, and resolution of
Plaintiff’s claims and Allstate’s failure to pay for the proper repair of Plaintiff’s Property, as to
which Allstate’s liability had become reasonably clear.

56. Additional violations include Allstate’s hiring of and reliance upon biased
adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling
and denying Plaintiff’s storm-related damage and related claims Plaintiff further includes

Allstate’s failure to look for coverage and give Plaintiff the benefit of the doubt, as well as

 

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Allstate’s misrepresentations of coverage under the subject insurance policy. Specifically,
Allstate is also guilty of the following unfair insurance practices:

a. Engaging in false, misleading, and deceptive acts or practices in the
business of insurance in this case;

b. Engaging in unfair claims settlement practices;

c. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
the coverage at issue;

d. Not attempting in good faith to effectuate a prompt, fair, and equitable
settlement of Plaintiffs’ claims as to which Allstate’s liability had become
reasonably clear‘;

e. Failing to affirm or deny coverage of Plaintiff’s claims within a reasonable
time and failing within a reasonable time to submit a reservation of rights
letter to Plaintiff;

f. Refusing to pay Plaintiff’s claims without conducting a reasonable

investigation with respect to the claims and/or
g. Failing to provide promptly to a policyholder a reasonable explanation of
the basis in the insurance policy, in relation to the facts or applicable law,
for the denial of a claim or for the offer of a compromise settlement
57. Allstate has also breached the Texas Insurance Code when it breached its duty of
good faith and fair dealing. Allstate’s conduct as described herein has resulted in Plaintiff’s

damages that are described in this Original Petition.

H.
MISREPRESENTATION

58. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs
59. Allstate is liable to Plaintiff under the theories of intentional rnisrepreserrtation, or

in the alternative, negligent misrepresentation Essentially, Allstate did not inform Plaintiff of

 

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certain exclusions in the policy. Misrepresentations were made with the intention that they
should be relied upon and acted upon by Plaintiff who relied on the misrepresentations to his
detriment As a result, Plaintiff has suffered damages including but not limited to loss of the
Property, loss of use of the Property, mental anguish and attorney’s fees Allstate is liable for
these actual consequential and penalty-based damages

I.
COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

60. Plaintiff hereby incorporates by reference all facts and circumstances in the
foregoing paragraphs

61. Plaintiff would show that Allstate perpetrated fraud by misrepresentation (either
intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who relied
upon such representations that ultimately resulted in his injuries and damages Alternatively,
Allstate fraudulently concealed material facts from Plaintiff, the result of which caused damage
to Plaintiff as a result of the storm-related damages

62. Specifically, and as a proximate cause and result of this fraudulent concealment,
fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or
consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional
limits of this Court.

63. By reason of Plaintiff’s reliance on Allstate fraudulent representations negligent
misrepresentations and/or fraudulent concealment of material facts as described in this
complaint, Plaintiff has suffered actual damages for which he now sues

64. Plaintiff further alleges that because Allstate knew that the misrepresentations

made to Plaintiff were false at the time they were made, such misrepresentations are fraudulent,

 

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negligent or grossly negligent on the part of Allstate, and constitute conduct for which the law
allows the imposition of exemplary damages

65. In this regard, Plaintiff will show that he has incurred significant litigation
expenses including attorneys’ fees in the investigation and prosecution of this action.

66. Accor'dingly, Plaintiff requests that penalty damages be awarded against Allstate
in a sum in excess of the minimum jurisdictional limits of this Court.

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67. Plaintiff hereby incorporates by reference all facts and circumstances set forth
rrrrder the foregoing paragraphs

68. Allstate has waived and is estopped from asserting any defenses conditions
exclusions or exceptions to coverage not contained in any Reservation of Rights or denial letters
to Plaintiff.

DAMA§ZE §

69. Allstate’s acts have been the producing and/or proximate cause of damage to
Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this
Court.

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70. Allstate’s conduct was committed knowingly and intentionally Accordingly,
Allstate is liable for additional damages under the DTPA, section l'i'.50(b) (l), as well as all
operative provisions of the Texas Irrsurance Code. Plaintiff is thus clearly entitled to the 18%

damages allowed by the Texas Insurance Code.

 

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71. In addition, Plaintiff is entitled to all reasonable and necessary attorneys’ fees
pursuant to the Texas Insurance Code, DTPA, and sections 38.001».005 of the Civil Practice and
Remedies Code,
MAN.D
72. Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

BHQIJEST FOR DIS§§!¢Q§[]RE
73. Pursuant to the Texas Rules of` Civil Procedure, Plaintiff requests that Allstate
disclose all infonuation and/or material as required by Rule 194.2, paragraphs (a) through (l),
and to do so within 50 days of this request.
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75. Pursuant to the Texas Rules of` Civil Procedure, Plaintiff propounds the following
Requests for Production.
l. Please produce Allstate’s complete claim files from the home, regional, local
offices, and third party adjusters/adjusting firms regarding the claim that is the subject of
this matter, including copies of the file jackets, “field” files and notes, and drafts of

documents contained in the file for the premises relating to or arising out of Plaintiff’s
underlying claim.

2. Please produce the underwriting files referring or relating in any way to the policy
at issue in this action, including the file folders in which the underwriting documents are
kept and drafts of all documents in the file.

3. Please produce certified copy of the insurance policy pertaining to the claim
involved in this suit.

4. Please produce the electronic diaiy, including the electronic and paper notes made
by Allstate’s claims personnel, contractors, and third party adjusters/adjusting firms
relating to the Plaintiff’s claims.

 

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5. Please produce all entails and other forms of communication by and between all
parties in this matter relating to the underlying event, claim or the Propetty, which is the
subject of this Suit.

6. Please produce the adjusting repoits, estimates and appraisals prepared concerning
Plaintiffs’ underlying claim.

7. Please produce the field notes, measurements and file maintained by the adjuster(s)
and engineers who physically inspected the subject Property.

8. Please produce the emails, instant messages and internal correspondence pertaining
to Plaintiff’s underlying claim(s).

9. Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff’s
home, regardless of whether Allstate intend to offer these items into evidence at trial.

TE I *
76. Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following
Interrogatories,
l. Please identify any person Allstate expect to call to testify at the time of` trial.

2. Please identify the persons involved in the investigation and handling of Plaintiff’s
claim for insurance benefits arising from damage relating to the underlying event, claim or
the Property, which is the subject of this suit, and include a brief description of the
involvement of each person identified, their employer, and the date(s) of` such involvement

3. IfAllstate or Allstate’s representatives performed any investigative steps in addition
to what is reflected in the claims file, please generally describe those investigative steps
conducted by Allstate or any of Allstate’s representatives with respect to the facts
surrounding the circumstances of` the subject loss. Identif`y the persons involved in each
step.

4. Please identify by date, author, and result the estimates, appraisals, engineering,
mold and other reports generated as a result ofAllstate’s investigationl

5. Please state the following concerning notice of claim and timing of payment

a. The date and manner in which Allstate received notice of the claim;
b. The date and manner in which Allstate acknowledged receipt of the
claim;

 

PLAlNTIFF JUAN VILLANUEVA’S ORlGlNAL PETI'I`ION Pagc 17

 

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c. The date and manner in which Allstate commenced investigation of
the claim;
d. The date and manner in which Allstate requested from the claimant all

items, statements, and forms that Allstate reasonably believed, at the time,
would be required from the claimant; and

e. T he date and manner in which Allstate notified the claimant in writing
of the acceptance or rejection of the claim.

6. Please identify by date, amount and reason, the insurance proceed payments made
by Defendant, or on Defendant’s behalf, to the Plaintiff.

7. Has Plaintiff’s claim for insurance benefits been rejected or denied? If so, state the
reasons for rejecting/denying the claim.

8. When was the date Allstate anticipated litigation?

9. Have any documents (including those maintained electronically) relating to the
investigation or handling of Plaintiff’s claim for insurance benefits been destroyed or
disposed of‘? If so, please identify what, when and why the document was destroyed, and
describe Allstate’s document retention policy.

10. Does Allstate contend that the insured premises was damaged by storm-related
events and/or any excluded peril? If so, state the general factual basis for this contentionl

Il. Does Allstate contend that any act or omission by the Plaintiff voided, nullified,
waived or breached the insurance policy in any way? If so, state the general factual basis
for this contention

12. Does Allstate contend that the Plaintiff failed to satisfy any condition precedent or
covenant of the policy in any way? If so, state the general factual basis for this contention.

13. How is the performance of the adjuster(s) involved in handling Plaintif`f’s claim
evaluated? State the following:

a. what performance measures are used; and
b. describe Allstate’s bonus or incentive plan for adjusters.
MQN

77. Plaintiff prays that judgment be entered against Allstate Texas Lloyds, and that

Plaintiff be awarded all of his actual dainages, consequential damages, prejudgment interest,

 

PLAINTIFF JUAN VILLANUEVA’S ORlGINAL PETITION Page 18

 

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additional statutory damages, post judgment interest, reasonable and necessary attorney fees,

court costs and for all such other relief, general or specific, in law or in equity, whether pled or

un-pled within this Original Petition.

RBAX.EB

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays he be awarded all such relief

to which he is due as a result of the acts ofAllstate Texas Lloyds, and for all such other relief to

which Plaintiff may be justly entitled

Respectf`ully submitted,

THE Voss LAW FIRM, P.C.

/s/ Scotl' G. Hzmziker

 

Scott G. Hunziker

State Bar No. 24032446
Bryan Beverly

State Bar No. 24082688

The Voss Law Center

26619 interstate 45 South
The Woodlands, Texas 77380
Telephone: (713) 861-0015
Facsimile: (713) 861-0021
scott@vosslawfirm.com
ATTORNEYS FOR PLAINTIFF

 

PLAINTIFF JUAN VILLANUBVA’S ORlG[NAL PETlTION Page 19

 

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EI_BEO§W_EVFORMATION SHEET

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CAUsE NUMnan (Fo.lr CLERK USE orlej:

 

STYLED: JUAN VILLANUEVA V. ALLSTA'I`E TEXAS LLOYDS

(c.g., John S:ni!h v. A|lAmerican insurance Co; in re Mary Ann Jenes; ln the Maner ofthe Estate ochorge Jackscn)

A civil case infomiation sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The iltf`Onuation should be the best available at

the time ofiiling.

 

l. Contact information for person completing case information Shcci:

iNames 0|` parties in casc:

Person or cntltv completing s|lcct is:

 

CitylStateJZip:

The Woodlands TX
2 23 80

 

Fax'.

Attomey for Plaintiff/Petitioner

26619 Interstate 45 t 2131 861-0015 ALLSTATE TEXAS LLOYDS

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Natnc: Ernaii: Plaintifi`(s)/Petitioner(s): Pra Se Plaintitl?Petitioner
Title IV-D Agency
Scott Hunziker scott@vosslawfirm.com JUAN VILLAN UEVA O““’“
Address: Teleph°"e: D°fc“d“"‘($)m°$l’°“de“‘(§)‘ seasonal raises in child support Case:

Custodial Parent:

 

Non~Custodial Parent:

 

Prcsurncd Father:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. State Bar No:
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gm y\l\/ 24032446
2. Indicatc case typc, uridentify the most important issue ln tile case (seh'cr only .l'):
Civi! anily Law
Post-judgmcnt Actions
Contract injury or Damnge Real Property Marrlage llc|ntionship (non-Title IV-D)
Deb!/Conrrac! Assault."Battery Eminent Domainl Annulment Enl`orcement
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Home Equity_Expedited Other Prof`essional Support Order
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Termination of Parental
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intellectual Property

 

 

 

 

 

 

 

 

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Tax Delinqucncy Dependent Admiuislration Guardianship_Minor
Other Tax Independcnt Administration Mentnl Heallh
Otlier Estate Proceedin gs Other:
3. lnclicate procedure or remedy, il° applicable (mny select more than I):
Appcal from Muntcipal or Jnsn'ce Court Declaratery Judgmcnt Prejudgment Remedy
Arbitration-related Gamislunent Prot¢ctivc Ord€r
Atlaehnient lnlcrplcadcr Receiver
Bill of Review License chucstration
Certiorari Mandamus Temporary Restraining Ordcr»‘injunclion
Class Action Post-judgment l`timovcr

 

 

 

4. Iudicate damages sought tdc not select if it is n family law casel:
XXXXLess than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment intercst, and attomey fees
Less than 5100,000 and non~monetary relief
Sl(}(), 000 but not more than SZO0,000
3200,000 but not more than S 1,000,000

Over S 1,000,000.

 

